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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )                Case No: 8:14cr409
                                             )
                     Plaintiff,              )
                                             )           ORDER TO WITHDRAW
              vs.                            )          EXHIBITS OR TO SHOW
                                             )           CAUSE WHY EXHIBITS
DILANG DAT                                   )        SHOULD NOT BE DESTROYED
                                             )
                     Defendant.              )
                                             )


       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for the defendant shall
either 1) withdraw the following exhibits previously submitted in this matter within 14
calendar days of the date of this order, or 2) show cause why the exhibits should not be
destroyed:


       (Defendant’s exhibit number 101) / Motion Hearing / March 13, 2015)


       If counsel fails to withdraw these exhibits as directed or to show cause why the
exhibits should not be destroyed, the clerk=s office is directed to destroy the listed exhibits
without further notice to the parties or order from the court.

       IT IS SO ORDERED.

       DATED this 3rd day of March, 2017.

                                                   BY THE COURT:

                                                   s/ Laurie Smith Camp
                                                   United States District Judge




                           Exhibits-Order_to_Withdraw_or_OSC_Destroy_Appeal_Time_Expired.docx
                                                                             Approved 12/22/14
